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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-06-52-11
                                            §
                                            §
JOSE CANTU                                  §

                                          ORDER

        A hearing has been scheduled on the government’s sealed motion. The hearing is set

for Wednesday, June 29, 2011, at 3:00 p.m. The U.S. Marshals are ordered to transport and

present the defendant for this hearing.


              SIGNED on June 21, 2011, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
